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 1   Jesse Panuccio (pro hac vice pending)
     jpanuccio@bsfllp.com
 2   Jason Hilborn (pro hac vice pending)
     jhilborn@bsfllp.com
 3   BOIES SCHILLER FLEXNER LLP
     401 E. Las Olas Blvd., Ste. 1200
 4   Fort Lauderdale, FL 33301
     Telephone: (954) 356-0011
 5
     John J. Kucera (SBN 274184)
 6   jkucera@bsfllp.com
     BOIES SCHILLER FLEXNER LLP
 7   725 S. Figueroa St., 31st Fl.
     Los Angeles, CA 90017
 8   Telephone: (213) 629-9040
 9   Counsel for Proposed Intervenor
     Everglades College, Inc.
10

11                             UNITED STATES DISTRICT COURT

12                          NORTHERN DISTRICT OF CALIFORNIA

13   THERESA SWEET, et al.,                      Case No. 3:19-cv-03674-WHA
14                    Plaintiffs,                [PROPOSED] ANSWER OF
                                                 PROPOSED INTERVENOR
15          v.                                   EVERGLADES COLLEGE, INC.
16   MIGUEL CARDONA, in his official capacity
     as Secretary of Education, and the UNITED   Date:    August 25, 2022
17   STATES DEPARTMENT OF EDUCATION,             Time:    8:00 a.m.
                                                 Room:    12, 19th Floor
18                    Defendants.                Judge:   Honorable William Alsup
19                                               (Class Action)
20                                               (Administrative Procedure Act Case)
21

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                                                               Case No. 3:19-cv-03674-WHA
             [PROPOSED] ANSWER OF PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.
             Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 2 of 31



 1                                                ANSWER

 2           Proposed Intervenor Everglades College, Inc. (“ECI”) files this answer to Plaintiffs‘

 3   Class Action Complaint for Declaratory and Injunctive Relief, Doc. 1. ECI answers the
                                                         1
 4   numbered paragraphs of the Complaint as follows:
 5           1. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7           2. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9           3. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11           4. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13           5. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15           6. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17           7. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19           8. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21           9. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23           10. This paragraph consists of Plaintiffs’ characterization of this lawsuit and legal

24   conclusions to which no response is required. To the extent that a response is deemed required,

25   deny.

26           11. This paragraph consists of legal conclusions to which no response is required.

27
             1 The Complaint starts with an unnumbered paragraph containing a quote to which no
28
     response is required.
                                           1
             [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                         COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 3 of 31



 1          12. This paragraph consists of legal conclusions to which no response is required.

 2          13. This paragraph consists of legal conclusions to which no response is required.

 3          14. This paragraph consists of legal conclusions to which no response is required.

 4          15. This paragraph consists of legal conclusions to which no response is required.

 5          16. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          17. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          18. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          19. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          20. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          21. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          22. This paragraph consists of legal conclusions to which no response is required.

18          23. Admit.

19          24. This paragraph consists of legal conclusions to which no response is required. To the

20   extent that a response is deemed required, deny.

21          25. This paragraph consists of legal conclusions to which no response is required. To the

22   extent that a response is deemed required, ECI admits the paragraph accurately quotes the APA,

23   otherwise deny.

24          26. This paragraph consists of legal conclusions to which no response is required. To the

25   extent that a response is deemed required, ECI admits that the paragraph accurately quotes the

26   APA, otherwise deny.

27

28
                                          2
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 4 of 31



 1          27. This paragraph consists of legal conclusions to which no response is required. To the

 2   extent that a response is deemed required, ECI admits that the paragraph accurately quotes the

 3   APA, otherwise deny.

 4          28. This paragraph consists of legal conclusions to which no response is required. To the

 5   extent that a response is deemed required, ECI admits that the paragraph accurately quotes 5

 6   U.S.C. § 702, otherwise deny.

 7          29. This paragraph consists of legal conclusions to which no response is required. To the

 8   extent that a response is deemed required, ECI admits that the paragraph accurately quotes the

 9   APA, otherwise deny.

10          30. This paragraph consists of legal conclusions to which no response is required. To the

11   extent that a response is deemed required, ECI admits that the paragraph accurately quotes the

12   APA, otherwise deny.

13          31. This paragraph consists of legal conclusions to which no response is required. To the

14   extent that a response is deemed required, ECI respectfully refers the Court to the statutory

15   provisions referenced therein for a full and accurate statement of its contents and otherwise

16   denies the allegations in this paragraph.

17          32. This paragraph consists of legal conclusions to which no response is required. To the

18   extent that a response is deemed required, ECI respectfully refers the Court to the statutory

19   provisions referenced therein for a full and accurate statement of its contents and otherwise

20   denies the allegations in this paragraph.

21          33. This paragraph consists of legal conclusions to which no response is required. To the

22   extent that a response is deemed required, ECI respectfully refers the Court to the statutory

23   provisions referenced therein for a full and accurate statement of its contents and otherwise

24   denies the allegations in this paragraph.

25          34. This paragraph consists of legal conclusions to which no response is required. To the

26   extent that a response is deemed required, ECI admits that the paragraph accurately quotes the

27   regulatory provision cited therein, otherwise deny.

28
                                          3
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 5 of 31



 1          35. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          36. This paragraph consists of legal conclusions to which no response is required. To the

 4   extent that a response is deemed required, deny.

 5          37. This paragraph consists of legal conclusions to which no response is required. To the

 6   extent that a response is deemed required, deny.

 7          38. ECI is without knowledge of what the Department requires of “all institutions,”

 8   therefore deny.

 9          39. This paragraph consists of legal conclusions to which no response is required. To the

10   extent that a response is deemed required, deny.

11          40. This paragraph consists of legal conclusions to which no response is required. To the

12   extent that a response is deemed required, deny.

13          41. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          42. This paragraph consists of legal conclusions to which no response is required. To the

16   extent that a response is deemed required, ECI admits that the paragraph accurately quotes the

17   statute cited therein, otherwise deny.

18          43. ECI lacks sufficient knowledge or information to form a belief about the truth of the

19   allegations in this paragraph, therefore deny.

20          44. This paragraph consists of legal conclusions to which no response is required. To the

21   extent that a response is deemed required, deny.

22          45. This paragraph consists of legal conclusions to which no response is required. To the

23   extent that a response is deemed required, deny.

24          46. ECI lacks sufficient knowledge or information to form a belief about the truth of the

25   allegations in this paragraph, therefore deny.

26          47. This paragraph consists of legal conclusions to which no response is required. To the

27   extent that a response is deemed required, ECI admits that the paragraph accurately quotes the

28   regulatory provision cited therein, otherwise deny.
                                          4
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 6 of 31



 1          48. This paragraph consists of legal conclusions to which no response is required. To the

 2   extent that a response is deemed required, deny.

 3          49. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          50. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          51. This paragraph consists of legal conclusions to which no response is required. To the

 8   extent that a response is deemed required, deny.

 9          52. This paragraph consists of legal conclusions to which no response is required. To the

10   extent that a response is deemed required, deny.

11          53. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          54. This paragraph consists of legal conclusions to which no response is required. To the

14   extent that a response is deemed required, ECI respectfully refers the Court to the regulatory

15   provisions referenced therein for a full and accurate statement of its contents and otherwise

16   denies the allegations in this paragraph.

17          55. This paragraph consists of legal conclusions to which no response is required. To the

18   extent that a response is deemed required, ECI admits that the paragraph accurately quotes the

19   regulatory provision cited therein, otherwise deny.

20          56. ECI lacks sufficient knowledge or information to form a belief about the truth of the

21   allegations in this paragraph, therefore deny.

22          57. ECI lacks sufficient knowledge or information to form a belief about the truth of the

23   allegations in this paragraph, therefore deny.

24          58. This paragraph consists of legal conclusions to which no response is required. To the

25   extent that a response is deemed required, ECI admits that the paragraph accurately quotes the

26   statutory provision cited therein, otherwise deny.

27          59. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                          5
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 7 of 31



 1          60. This paragraph consists of legal conclusions to which no response is required. To the

 2   extent that a response is deemed required, deny.

 3          61. This paragraph consists of legal conclusions to which no response is required. To the

 4   extent that a response is deemed required, deny.

 5          62. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          63. The cited regulation does not contain the quoted regulation, therefore deny.

 8          64. This paragraph consists of legal conclusions to which no response is required. To the

 9   extent that a response is deemed required, ECI respectfully refers the Court to materials

10   referenced therein for a full and accurate statement of its contents and otherwise denies the

11   allegations in this paragraph.

12          65. ECI lacks sufficient knowledge or information to form a belief about the truth of the

13   allegations in this paragraph, therefore deny.

14          66. ECI lacks sufficient knowledge or information to form a belief about the truth of the

15   allegations in this paragraph, therefore deny.

16          67. ECI lacks sufficient knowledge or information to form a belief about the truth of the

17   allegations in this paragraph, therefore deny.

18          68. ECI lacks sufficient knowledge or information to form a belief about the truth of the

19   allegations in this paragraph, therefore deny.

20          69. This paragraph consists of legal conclusions to which no response is required. To the

21   extent that a response is deemed required, deny.

22          70. ECI lacks sufficient knowledge or information to form a belief about the truth of the

23   allegations in this paragraph, therefore deny.

24          71. This paragraph consists of legal conclusions to which no response is required. To the

25   extent that a response is deemed required, denied.

26          72. This paragraph consists of legal conclusions to which no response is required. To the

27   extent that a response is deemed required, ECI admits that the paragraph accurately quotes the

28   statutory and regulatory provisions cited therein, otherwise deny.
                                          6
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 8 of 31



 1          73. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          74. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          75. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          76. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          77. ECI denies the first sentence of this paragraph and admits the second sentence of this

10   paragraph.

11          78. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          79. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          80. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          81. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          82. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          83. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          84. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          85. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          86. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                          7
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
            Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 9 of 31



 1          87. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          88. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          89. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          90. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          91. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          92. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          93. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          94. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          95. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          96. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          97. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          98. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          99. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          100. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                          8
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
           Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 10 of 31



 1           101. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3           102. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5           103. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7           104. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9           105. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11           106. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13           107. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15           108. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17           109. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19           110. Deny.

20           111. ECI lacks sufficient knowledge or information to form a belief about the truth of the

21   allegations in this paragraph, therefore deny.

22           112. ECI admits that the Department promulgated borrower defense regulations in 1994.

23   ECI lacks sufficient knowledge or information to form a belief about the truth of the allegations

24   in the rest of this paragraph.

25           113. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27           114. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                          9
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          115 ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          116. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          117. The terms “situation” and “untenable” are vague and undefined and ECI lacks

 6   sufficient knowledge or information to form a belief about the truth of the allegations in this

 7   paragraph.

 8          118. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 9   allegations in this paragraph, therefore deny.

10          119. ECI lacks sufficient knowledge or information to form a belief about the truth of the

11   allegations in this paragraph, therefore deny.

12          120. ECI lacks sufficient knowledge or information to form a belief about the truth of the

13   allegations in this paragraph, therefore deny.

14          121. ECI lacks sufficient knowledge or information to form a belief about the truth of the

15   allegations in this paragraph, therefore deny.

16          122. ECI lacks sufficient knowledge or information to form a belief about the truth of the

17   allegations in this paragraph, therefore deny.

18          123. ECI lacks sufficient knowledge or information to form a belief about the truth of the

19   allegations in this paragraph, therefore deny.

20          124. ECI lacks sufficient knowledge or information to form a belief about the truth of the

21   allegations in this paragraph, therefore deny.

22          125. ECI lacks sufficient knowledge or information to form a belief about the truth of the

23   allegations in this paragraph, therefore deny.

24          126. ECI lacks sufficient knowledge or information to form a belief about the truth of the

25   allegations in this paragraph, therefore deny.

26          127. ECI lacks sufficient knowledge or information to form a belief about the truth of the

27   allegations in this paragraph, therefore deny.

28
                                         10
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          128. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          129. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          130. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          131. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          132. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          133. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          134. ECI admits that the Department of Education published a new borrower-defense

14   regulation in 2016. Otherwise, denied.

15          135. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          136. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          137. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          138. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          139. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          140. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          141. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         11
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
           Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 13 of 31



 1          142. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          143. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          144. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          145. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          146. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          147. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          148. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          149. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          150. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, including its subparagraphs, therefore deny.

19          151. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          152. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          153. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          154. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          155. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         12
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
           Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 14 of 31



 1          156. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          157. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          158. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          159. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          160. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          161. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          162. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          163. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          164. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          165. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          166. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          167. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          168. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          169. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         13
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
           Case 3:19-cv-03674-WHA Document 261-1 Filed 07/13/22 Page 15 of 31



 1          170. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          171. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          172. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          173. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          174. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          175. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          176. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          177. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          178. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          179. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          180. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          181. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          182. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          183. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         14
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          184. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          185. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph. ECI also respectfully refers the Court to the testimony referenced

 5   therein for a full and accurate statement of its contents and otherwise denies the allegations in

 6   this paragraph.

 7          186. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          187. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          188. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          189. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          190. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          191. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          192. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          193. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          194. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          195. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          196. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         15
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1            197. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3            198. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5            199. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7            200. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9            201. ECI admits that this paragraph accurately quotes the Federal Register, otherwise

10   deny.

11            202. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13            203. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15            204. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17            205. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19            206. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21            207. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23            208. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25            209. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27            210. This paragraph consists of legal conclusions to which no response is required. To the

28   extent that a response is deemed required, deny.
                                          16
             [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          211. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          212. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          213. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          214. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          215. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          216. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          217. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          218. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          219. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          220. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          221. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          222. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          223. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          224. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         17
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          225. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          226. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          227. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          228. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          229. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          230. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          231. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          232. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          233. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          234. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          235. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          236. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          237. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          238. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         18
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          239. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          240. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          241. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          242. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          243. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          244. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          245. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          246. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          247. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          248. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          249. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          250. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          251. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          252. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         19
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          253. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          254. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          255. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          256. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          257. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          258. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          259. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          260. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          261. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          262. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          263. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph including its subparagraphs, therefore deny.

23          264. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          265. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          266. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         20
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          267. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          268. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          269. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          270. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          271. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          272. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          273. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          274. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          275. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          276. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          277. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          278. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          279. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          280. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         21
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          281. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          282. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          283. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph including its subparagraphs, therefore deny.

 7          284. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          285. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          286. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          287. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          288. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          289. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          290. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          291. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          292. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          293. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          294. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         22
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          295. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          296. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          297. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          298. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          299. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          300. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          301. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          302. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          303. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          304. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph including its subparagraph, therefore deny.

21          305. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          306. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          307. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          308. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         23
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          309. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          310. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          311. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          312. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          313. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          314. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          315. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          316. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          317. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          318. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          319. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          320. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          321. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          322. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         24
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          323. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph including its subparagraphs, therefore deny.

 3          324. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          325. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          326. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          327. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          328. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          329. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          330. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          331. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          332. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          333. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          334. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          335. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          336. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         25
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          337. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          338. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          339. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph including its subparagraphs, therefore deny.

 7          340. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          341. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          342. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          343. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          344. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          345. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          346. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph, therefore deny.

21          347. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          348. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          349. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          350. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         26
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          351. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          352. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          353. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          354. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          355. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          356. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          357. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          358. ECI lacks sufficient knowledge or information to form a belief about the truth of the

16   allegations in this paragraph, therefore deny.

17          359. ECI lacks sufficient knowledge or information to form a belief about the truth of the

18   allegations in this paragraph, therefore deny.

19          360. ECI lacks sufficient knowledge or information to form a belief about the truth of the

20   allegations in this paragraph including its subparagraphs, therefore deny.

21          361. ECI lacks sufficient knowledge or information to form a belief about the truth of the

22   allegations in this paragraph, therefore deny.

23          362. ECI lacks sufficient knowledge or information to form a belief about the truth of the

24   allegations in this paragraph, therefore deny.

25          363. ECI lacks sufficient knowledge or information to form a belief about the truth of the

26   allegations in this paragraph, therefore deny.

27          364. ECI lacks sufficient knowledge or information to form a belief about the truth of the

28   allegations in this paragraph, therefore deny.
                                         27
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          365. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 2   allegations in this paragraph, therefore deny.

 3          366. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 4   allegations in this paragraph, therefore deny.

 5          367. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 6   allegations in this paragraph, therefore deny.

 7          368. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 8   allegations in this paragraph, therefore deny.

 9          369. ECI lacks sufficient knowledge or information to form a belief about the truth of the

10   allegations in this paragraph, therefore deny.

11          370. ECI lacks sufficient knowledge or information to form a belief about the truth of the

12   allegations in this paragraph, therefore deny.

13          371. ECI lacks sufficient knowledge or information to form a belief about the truth of the

14   allegations in this paragraph, therefore deny.

15          372. This paragraph consists of Plaintiffs‘ characterization of their lawsuit to which no

16   response is required. To the extent that a response is deemed required, denied.

17          373. This paragraph, including its subparagraph, consists of legal conclusions to which

18   no response is required. ECU further lacks sufficient knowledge or information to form a belief

19   about the truth of the allegations in subparagraph (e) of this paragraph. To the extent that a

20   response is deemed required, denied.

21          374. This paragraph consists of legal conclusions and requests for relief to which no

22   response is required. To the extent that a response is deemed required, denied.

23          375. This paragraph consists of legal conclusions and requests for relief to which no

24   response is required. To the extent that a response is deemed required, denied.

25          376. This paragraph consists of legal conclusions and requests for relief to which no

26   response is required. To the extent that a response is deemed required, denied.

27          377. ECI repeats and incorporates by reference its reponses to all preceding paragraphs.

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                                         28
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
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 1          378. This paragraph consists of legal conclusions and requests for relief to which no

 2   response is required. To the extent that a response is deemed required, denied.

 3          379. This paragraph consists of legal conclusions and requests for relief to which no

 4   response is required. To the extent that a response is deemed required, denied.

 5          380. This paragraph consists of legal conclusions to which no response is required. To the

 6   extent that a response is deemed required, ECI admits this paragraph accurate quotes the APA,

 7   otherwise deny.

 8          381. ECI lacks sufficient knowledge or information to form a belief about the truth of the

 9   allegations in this paragraph, therefore deny.

10          382. ECI lacks sufficient knowledge or information to form a belief about the truth of the

11   allegations in this paragraph, therefore deny.

12          383. ECI lacks sufficient knowledge or information to form a belief about the truth of the

13   allegations in this paragraph, therefore deny.

14          384. ECI lacks sufficient knowledge or information to form a belief about the truth of the

15   allegations in this paragraph, therefore deny.

16          385. ECI lacks sufficient knowledge or information to form a belief about the truth of the

17   allegations in this paragraph.

18          386. ECI lacks sufficient knowledge or information to form a belief about the truth of the

19   allegations in this paragraph.

20          387. This paragraph consists of legal conclusions to which no response is required. To the

21   extent that a response is deemed required, deny.

22          388. This paragraph consists of legal conclusions to which no response is required. To the

23   extent that a response is deemed required, deny.

24          389. This paragraph consists of legal conclusions to which no response is required. To the

25   extent that a response is deemed required, deny.

26          390–404. These paragraphs relate to a claim that has been dismissed, and thus no

27   response is required.

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                                         29
            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
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 1          The remaining unnumbered paragraphs in the Complaint contain requests for relief to

 2   which no response is required. ECI denies any allegations not expressly admitted or denied.

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 4   Dated: July 13, 2022                                Respectfully submitted,

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 6                                                       /s/ John J. Kucera
                                                         John J. Kucera
 7                                                       jkucera@bsfllp.com
                                                         BOIES SCHILLER FLEXNER LLP
 8                                                       725 S Figueroa Street, 31st Floor
 9                                                       Los Angeles, CA 90017
                                                         Telephone: (213) 995-5758
10
                                                         Jesse Panuccio
11                                                       (pro hac vice pending)
                                                         jpanuccio@bsfllp.com
12                                                       Jason Hilborn
13                                                       (pro hac vice pending)
                                                         jhilborn@bsfllp.com
14                                                       BOIES SCHILLER FLEXNER LLP
                                                         401 E. Las Olas Blvd., Ste. 1200
15                                                       Fort Lauderdale, FL 33301
                                                         Telephone: (954) 356-0011
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17                                                       Counsel for Proposed Intervenor
                                                         Everglades College, Inc.
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            [PROPOSED] ANSWER OF EVERGLADES COLLEGE, INC. TO ORIGINAL
                        COMPLAINT, Case No.: 3:19-cv-03674-WHA
